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                                                LIST OF EXHIBITS AND WITNESSES
 Case Number            MJ-20-1777                       Title        Babak Broumand
                        Alicia G. Rosenberg, United States Magistrate Judge                                         FILED
        dude
           g                                                                                             CLERK, U.3. DISTRICT COURT
 Dates of Trial
                        05/18/2020
   or Hearing                                                                                                          I

 Court Reporters        Katie Thibodeaux
  or Tape No.                                                                                           CE7VTRAL DI3   CT OF CALIFORNIA

 Deputy Clerks          K. Lozada                                                                                                   `"-

                  Attorneys)for Plaintiffs)/ Petitioner(s)                                  Attorneys)for Defendants)/ Respondent(s)

 Ruth C Pinkel, AUSA,                                                         Steven Gruel, Retained,




    Plaintiffs) or Petitioners)              Defendants) or
                                              Respondents)
                                                                                    EXHIBIT DESCRIPTION /WITNESS                         Called By
  Ex. No.         Id.        Ev.      Ex. No.      Id.           Ev

                                                                         Michael Torbic, Special Agent of the Federal Bureau

                                                                         of Investigation                                               Plaintiff

    1             X                                                      Portions of Criminal Complaint and Affidavit

                                                                         Paragraphs 1-7, 9-22, 24-30, 47-64 and l l3(Dkt. 1)            Plaintiff




G-65(03/07)                                              LIST OF EXHIBITS AND WITNESSES                                          Page     l of      1
